    Case: 4:05-cr-00095-SA-DAS Doc #: 856 Filed: 08/21/06 1 of 2 PageID #: 2392




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                CRIMINAL ACTION NO. 4:05CR95-P-B


KEVIN MATTHEWS

                                             ORDER

       This cause is before the Court on defendant Kevin Matthews’ Motion(s) to Dismiss [521]

and [677]. The Court, having reviewed the motion, the response, the authorities cited and being

otherwise fully advised in the premises, finds as follows, to-wit:

       The defendant attacks the sufficiency of Count 1 of the Second Superseding Indictment on

grounds that the indictment fails to inform him of the nature and cause of the accusation against him

so as to comport with minimum constitutional standards.

       The Court has reviewed the indictment and finds the defendants’ claims to be without merit.

“An indictment is sufficient if it contains the elements of the offense charged, fairly informs the

defendant what charge he must be prepared to meet, and enables the accused to plead acquittal or

conviction in bar of future prosecutions for the same offense.” United States v. Gordon, 780 F.2d

1165, 1169 (5th Cir. 1986). An indictment which tracks the language of the relevant statute is

sufficient if those words fully, directly, and expressly set forth all of the elements necessary to

constitute the offense intended to be proved. Hamling v. United States, 418 U.S. 87, 117 (1974).

       The superseding indictment charges defendant Matthews with participating in a conspiracy

to possess with intent to distribute and distribute more than five kilograms of cocaine and in excess
    Case: 4:05-cr-00095-SA-DAS Doc #: 856 Filed: 08/21/06 2 of 2 PageID #: 2393




of 50 grams of cocaine base, crack cocaine in violation of 21 U.S.C. §§ 846 and 841(a), (b)(1)(A).

A narcotics indictment is sufficient if it alleges a conspiracy to distribute drugs, the time during

which the conspiracy was operative and the statute allegedly violated, even if it fails to allege or

prove any specific overt act in furtherance of the conspiracy. United States v. Hawkins, 661 F.2d

436, 454 (5th Cir. 1981). In addition, the indictment contains enough detail to inform the defendant

of the nature of the charges against him and to urge a double jeopardy defense against any future

prosecution for the same conduct.

       Clearly, the Second Superseding Indictment in this case meets the requirements of Hawkins

as outlined supra. It charged that the defendant conspired to distribute cocaine base between January

2000 and November 20, 2005 in violation of 21 U.S.C. §§ 846 and 841. Accordingly, the

defendant’s challenge to the sufficiency of the indictment is not well-taken and should be denied.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Matthews’ Motion(s)

to Dismiss [521] and [677] are not well-taken and should be, and hereby are, DENIED.

       SO ORDERED, this the 18th day of August, 2006.

                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
